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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

 Steven Mendoza,                           )
                                           )
                       Plaintiff,          )
                                           )         20-cv-670
                    -vs-                   )
                                           )         Judge Bucklo
 Thomas Dart, Sheriff of Cook              )
 County, and Cook County, Illinois,        )         Magistrate Judge McShain
                                           )
                                           )
                       Defendants.         )

   PLAINTIFF’S MOTION TO COMPEL INSPECTION OF 111th STREET
                              COURTHOUSE
     Plaintiff Steven Mendoza, by counsel, moves the Court to order the Sheriff

of Cook County to permit an inspection of the 111th Street Courthouse with

plaintiff’s architect consultant.

       Grounds for this motion are as follows:

       1.      Plaintiff Steven Mendoza is a wheelchair-user and alleges he

experienced discrimination when attending court at Branch 38, a court location at

727 E. 111th Street, Chicago, IL 60628, because of physical barriers. Dkt. 1,

Complaint ¶¶ 6-8.

       2.      Plaintiff alleges he was unable to toilet and use the sink on a basis

equal to nondisabled inmates because of structural barriers. Plaintiff explained

the problem caused by these barriers in a detainee grievance shown below:




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       3.     The plaintiff also alleges he experienced discrimination when being

transported to the courthouse because the designated passageway to enter the

building was too narrow for his wheelchair. As a result, staff used a side door and

traversed an inaccessible path of travel. Plaintiff fell one time while being

transported using this inaccessible path of travel as explained in his grievance:




       4.     Shortly after this incident, Correctional Officer James Luckett, the

officer who transported plaintiff from the courthouse, wrote a statement that
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“111th Street not handicap accessible. Entry bars don’t permit detainees to enter

throug bars. Bars are too small. Had to take detainee out the side entrance which

walkway was filled with water.” See Exhibit 1, Prisoner/Arrestee Custody

Transfer Sheet at 2.

       5.     On September 21, 2020 plaintiff served a request to inspect the

111th Street Courthouse. A copy of the notice is attached as Exhibit 2. Because

of COVID, the parties agreed to delay the scheduling of this inspection.

       6.     Beginning April 2021, plaintiff requested cooperation scheduling

this inspection. A copy of a letter memorializing a phone call on April 22, 2021 is

attached as Exhibit 3.

       7.     The parties held another phone conferral on June 3, 2021

regarding this inspection request. The undersigned sent a letter to defense

counsel the following day regarding the conferral. Exhibit 4, P.Morrissey letter

dated 6/4/2021.

       8.     The parties had another phone conferral on June 16, 2021

regarding the inspection. The Sheriff requested that plaintiff serve an amended

inspection notice to assist with coordinating the inspection. The undersigned

memorialized this conversation in an e-mail sent to defense counsel on June 16,

2021. Exhibit 5, P.Morrissey e-mail sent 6/16/2021. Plaintiff also served an

amended inspection notice regarding the 111th Street Courthouse the same day.

Exhibit 6, Amended Inspection Request served 6/16/2021.

       9.     After service of this amended inspection notice and the appearance

of the Sheriff’s new counsel, plaintiff sent several e-mails and held at least two



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phone conferrals. Despite numerous requests and conferrals, the Sheriff has not

provided any position on whether to permit the inspection of the 111th Street

Courthouse.

       10.      Plaintiff, therefore, respectfully requests that the Court order the

Sheriff to permit inspection of all matters outlined in the amended inspection

notice, attached as Exhibit 6, with the exception of the attorney-client room.

Plaintiff briefly outlines why each item is relevant for inspection:

             a. Item 1: Path of travel from wheelchair van to the 111th Street

       lockup. There is a dispute about how wheelchair detainees enter the

       courthouse. On one hand, Officer Luckett wrote the designated path of

       travel is not accessible for a wheelchair user because of a gate and

       plaintiff used a “side entrance” to exit the courthouse. See Exhibit

       Prisoner/Arrestee Custody Transfer Sheet at 2. Officer Esteban Garcia, an

       officer who escorted plaintiff to court with Officer Luckett, however,

       testified he observed plaintiff move through a door depicted below:




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     See Exhibit 7, Garcia Dep 33:13-17, 40:20-41:19. Therefore, it is

     necessary for plaintiff to inspect both paths of travel from the wheelchair

     van to the lockup area at the 111th Street Courthouse, particularly since

     plaintiff alleges, he was injured being transported from this facility using an

     inaccessible pathway. See Dkt. 1, Complaint ¶ 9.

        b. Item 2. Lockup supervised by the Sheriff at 111th Street

     Courthouse. According to Officer Anthony Sapp, an employee assigned

     to the 111th Street Courthouse more than 21 years, there are three cells

     and three bullpens in the lockup area. Exhibit 8, Sapp Dep 18:19-23,

     30:23-31:12. Plaintiff alleges that he was deprived access to an accessible

     toilet and sink in this lockup. Plaintiff requests to inspect this lockup area

     to assess whether plaintiff’s allegations are accurate. In addition, plaintiff

     seeks to have this area inspected, measured, and photographed by a

     consulting architect who then may be disclosed to serve as an expert in

     this case.

        c. Item 5. Bathrooms available to the public at 111th Street

     Courthouse. There is a dispute of fact whether detainees are permitted to

     use the public bathrooms. Officer Sapp said wheelchair-using detainees

     do not have access to the public bathrooms. Exhibit 8, Sapp Dep 74:20-

     75:9. The Sheriff’s ADA Compliance Officer, Sabrina Rivero-Canchola,

     avers that wheelchair-users will be transported to a public bathroom upon

     request in accordance with a policy of the Sheriff’s Office. Exhibit 9,

     Rivero-Canchola Dep 39:23-41:3, 43:12-44:10. Inspection of these



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     bathrooms is necessary because it may be a defense of the Sheriff; that

     upon request a wheelchair-user will be transported to a public ADA

     bathroom.

        d. Item 6. Bathrooms available to Sheriff’s staff at 111th Street

     Courthouse. Officer Sapp testified there is a bathroom used by staff that

     has grab bars around the toilet. Exhibit 8, Sapp Dep 73:14-74:8. He

     testified that he has never seen a wheelchair-user use the staff bathroom

     and no supervisor has provided training regarding a detainee using staff

     bathrooms. Id. at 75:10-76:19. The Sheriff’s ADA Compliance Officer,

     however, testified the staff bathrooms are made available to inmates upon

     request. Exhibit 9, Rivero-Canchola Dep 43:12-45:6. Inspection of these

     bathrooms is relevant because it is an accommodation the Sheriff’s ADA

     Compliance Officer contends is available to inmates like plaintiff Mendoza.

        e. Item 7. The portable toilet chair and location where this is

     stored at 111th Street Courthouse. Sabrina Rivero-Canchola testified

     that around 2014 a portable toilet chair was delivered at the 111th Street

     Courthouse. Exhibit 9, Rivero-Canchola Dep 25:24-27:15. Officer Sapp,

     however, said there are no portable toilet chairs in the lockup area for

     detainees. Exhibit 8, Sapp Dep 77:1-13. Plaintiff seeks to inspect this item

     and the location where it is stored because it is a purported

     accommodation for wheelchair-users, according to the ADA Compliance

     Officer.




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        11.      The above items are relevant to the claims and defenses at issue

in this case pertaining to the 111th Street Courthouse.

        It is therefore respectfully requested that the Court order defendant Sheriff

to permit an inspection of the 111th Street Courthouse consistent with the items

outlined in paragraph 10 of this motion with plaintiff’s consultant within fourteen

days.


                                           Respectfully submitted,

                                       /s/ Patrick W. Morrissey
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                                           an attorney for plaintiff




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                            CERTIFICATE OF COMPLIANCE

       Under penalty of perjury, the undersigned certifies the following statements

are true:

       1.     As explained in the body of the motion, plaintiff’s counsel has

engaged in several phone conferrals with the Sheriff’s attorneys regarding the

inspection of the 111th Street Courthouse.

       2.     After the Sheriff’s new counsel appeared, plaintiff wrote on 6/26

seeking a position on the inspection. Exhibit 10 at 3, P.Morrissey e-mail sent

6/26/2021. At the request of the Sheriff’s attorney, the undersigned attorney wrote

to Ms. Burkoth on 7/4/2021 outlining why the inspection of the 111th Street

Courthouse is relevant. See Exhibit 10 at 1, P.Morrissey e-mail sent 7/4/2021.

Plaintiff’s counsel had a phone call with Ms. Burkoth on 7/6 and she was

unprepared to discuss the inspection and the parties agreed to talk on 7/9. The

parties had a phone conferral on 7/9 and Ms. Burkoth still did not have a position

on the inspection.

       3.     Despite numerous conversations and several written exchanges, the

parties have not made any progress regarding an inspection of the 111th Street

Courthouse with plaintiff’s architect consultant.

       4.     Despite good faith conferrals, the parties are unable to reach accord.



              /s/    Patrick W. Morrissey




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